     Case 2:21-cv-01563-KJM-DMC Document 19 Filed 02/17/23 Page 1 of 2


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11
                                  UNITED STATES DISTRICT COURT
12
                                 EASTERN DISTRICT OF CALIFORNIA
13

14                                                   No. 2:21-cv-01563-KJM-DMC
15    LUIS ORTIZ,
                                                     STIPULATION FOR EXTENSION TO FILE
16    Plaintiff,                                     OPPOSITION TO PLAINTIFF’S OPENING
17                                                   BRIEF
      v.
18    KILOLO KIJAKAZI,
      Acting Commissioner of Social Security,
19
                         Defendant.
20

21           IT IS HEREBY STIPULATED, by and between the parties, through their respective

22   counsel of record, that the time for responding to Plaintiff’s Opening Brief be extended from

23   March 6 to April 5, 2023. This is Defendant’s first request for an extension of time to respond to

24   Plaintiff’s brief. Defendant respectfully requests this additional time because undersigned

25   counsel’s workload, including one Ninth Circuit brief and eight district court briefs due between

26   February 27 and March 7, requires an extension.

27           The parties further stipulate that the Court’s Scheduling Order shall be modified

28   accordingly.
     Case 2:21-cv-01563-KJM-DMC Document 19 Filed 02/17/23 Page 2 of 2


 1      •   Defendant shall respond to Plaintiff’s opening brief on or before April 5, 2023;

 2      •   Plaintiff’s optional reply will be due within 20 days of the filing of Defendant’s brief (on

 3          or before April 25, 2023).

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 5

 6                                                Respectfully submitted,

 7
     DATE: February 15, 2023                      s/ Omar Ortega,, Esq*
 8                                                (*as authorized via e-mail on 2/15/23)
                                                  OMAR ORTEGA, ESQ.
 9
                                                  Attorney for Plaintiff
10
                                                  PHILLIP A. TALBERT
11                                                United States Attorney

12   DATE: February 15, 2023                By    s/ Marcelo Illarmo
                                                  MARCELO ILLARMO
13
                                                  Special Assistant United States Attorney
14
                                                  Attorneys for Defendant
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16

17                                                ORDER
18

19   APPROVED AND SO ORDERED:

20
     Dated: February 16, 2023
21                                                         ____________________________________
                                                           DENNIS M. COTA
22
                                                           UNITED STATES MAGISTRATE JUDGE
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